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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                 Exhibit K
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                                  masqington, mar 20515




                                                March 22, 2019


Mr. Pat A. Cipollone
Counsel to the President
The White House
Washington, D.C. 20006

Dear Mr. Cipollone:

        We understand that Special Counsel Robert S. Mueller III has now concluded his
investigation of the Russian government's efforts to interfere in the 2016 election and of "any
links and/or coordination between the Russian government and individuals associated with the
campaign of President Donald Trump." 1 We also understand that Special Counsel Mueller has
issued a report to Attorney General Barr pursuant to 28 C.F.R. § 600.S(c).

         We ask that you immediately take steps to preserve any of the following materials in the
White House's possession: (1) all copies of Special Counsel Mueller's report; (2) all evidence or
other investigatory materials supplied to the Special Counsel's Office, or any copies thereof; and
(3) all related work product or other materials generated by the White House to assist the Special
Counsel's Office in its investigation. This request applies to all documents, records, memoranda,
correspondence, or other communications, or any portion thereof relevant to the work of the
Special Counsel's Office. We remind you that concealing, removing, or destroying such records
may constitute a crime.2

        Committees of the United States Congress are conducting investigations parallel to those
of the Special Counsel's Office, and preservation of these records is critical to ensure that we are
able to do our work without interference or delay. We therefore ask that you immediately
confirm that the White House is preserving these records and that you provide us with all orders,
notices, and guidance regarding preservation of information related to these matters and
investigations.

1
  Appointment ofSpecial Counsel to Investigate Russian Interference with the 2016 Presidential Election and
Related Matters, Order No. 3915-2017, Office of the Deputy Attorney General, May I 7, 2017.
2
  I 8 U.S.C. § 2071.



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       We look forward to your prompt attention and response to our request.

                                        Sincerely,




                                                                   Dianne Feinstein
           Chairmap                                                Ranking Member
  House Committee on the Judiciary                         Senate Committee on the Judiciary




                                                     /11.1J            le 4)"'*1
                                                                     Mark Warner
            Chairman                                               Ranking Member
House Permanent Select Committee on Intelligence       Senate Select Committee on Intelligence




        Elijah E. Cummings                                       Maxine Waters
             Chairman                                            Chairwoman
House Committee on Oversight and Reform                House Committee on Financial Services




          Chairman                                                Chairman
House Committee on Ways and Means                       House Committee on Foreign Affairs




                                                                     Ron Wyden
                                                                   Ranking Member
Senate Committee on Foteign Relations                       Senate Committee on Finance




                                               2
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                                     Sherrod Brown
                                    Ranking Member
                 Senate Committee on Banking, Housing, and Urban Affairs


cc:

The Honorable William P. Barr
Attorney General
U.S. Department of Justice
�50 Pennsylvania Avenue, NW
Washington, DC, 20530
